Case 8:18-mj-OO454-DUTY Document 4 Filed 09/27/18 Page 1 of 1 Page |D #:214

AO 93 (Rcv. llllJ) Scarch and Scizurc Warranl (Pagc 2)

 

 

Rcturn
Case No.: Date and lime warrant executed: Copy of warrant and inventory left wlth:
3;18.|\/1}-00454 August 27, 2018, al 4:00 P.M. On Kltchen Table

 

 

 

inventory made in the presence of' :
HSl Special Agent 'l`im Kirkharn

 

lnventorv of the pronerlv taken and name ofanv nerson(si seized:
Sony Vaio serial number 275449363004268

Play Station 3 serial number CF434868689¢
CECH-SOOlA

SanDisk 2 Gigabyte Micro SD Card
Kodak M753
LG Cellular phone serial number LGM5690

Seven miscellaneous documents with
telephone numbers.

 

Ccrtillcation

 

 

l declare under penalty of perjury that this inventory is correct and was returned along with the original warrani to the
designatedjudge.

Date: 08/28/2018 _/¢//%/

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£-.reclrli)lg officer s slgualllre

Tlm Kirkham, HSI Special Agent
Prr'nlcd name aml rifle

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